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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)                   FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
     2818 La Cienega Avenue
44   Los Angeles, California 90034                             MAY 24 2024
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: RB@LNBYG.COM; MYK@LNBYG.COM; KJM@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
66   Proposed Attorneys for Chapter 11 Debtors
                                                                       BY Cetulio DEPUTY CLERK



77   and Debtors in Possession

88                            UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
99                              SAN FERNANDO VALLEY DIVISION

10
10   In re:                                          Case No.: 1:24-bk-10646-MB
11
11   SYNAPSE FINANCIAL TECHNOLOGIES,
     INC.,                                           Chapter 11 Case
12
12
13
13            Debtor and Debtor in Possession        ORDER   GRANTING   DEBTOR’S
                                                     FIRST OMNIBUS MOTION FOR
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14                                                   ENTRY    OF     AN   ORDER
                                                     AUTHORIZING REJECTION OF
15
15                                                   EXECUTORY CONTRACTS AND
16                                                   UNEXPIRED LEASES
16
17
17                                                   DATE:     May 9, 2024
                                                     TIME:     9:00 a.m.
18
18                                                   PLACE:    Courtroom 303
                                                               21041 Burbank Boulevard.
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19                                                             Woodland Hills, CA 91367
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11          On May 9, 2024, the Court held a hearing to consider the motion (“Motion”) [Doc 76] filed

22   by Synapse Financial Technologies, Inc. (the “Debtor”), debtor in possession in the above-

33   captioned Chapter 11 bankruptcy case, for entry of an order authorizing the Debtor to reject,

44   pursuant to 11 U.S.C. § 365, any executory contract and unexpired lease that is not assumed and

55   assigned in connection with the Debtor’s proposed sale of its assets. Appearances were as noted

66   on the Court’s record.

77          The Court, having read and considered the Motion, notice [Doc 74] of the Motion and the

88   relief requested in the Motion having been appropriate under the circumstances and for the

99   purposes of the relief granted by the Court pursuant to this Motion, and all other pleadings filed in
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10   support of, and in opposition to, the Motion, with good cause appearing, orders as follows:
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11          1.      The Motion is granted as set forth in this Order.
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12          2.      The Debtor is authorized, and is hereby deemed, to reject its executory contracts
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13   and unexpired leases, effective as of May 9, 2024, subject to paragraphs 3 and 4 of this Order.
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14          3.      Cigna Health and Life Insurance Company (“Cigna”) and the Debtor are parties to
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15   an Administrative Services Contract (Level Funding) and a Stop Loss Policy (jointly, the
16
16   “Employee Benefits Agreements”) that facilitate the Debtor’s self-insured employee healthcare
17
17   benefits plan. Notwithstanding anything to the contrary in this Order or the Motion, unless Cigna
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18   and the Debtor agree otherwise, the Employee Benefits Agreements shall not be rejected effective
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19   as of May 9, 2024; provided, however, that the Employee Benefits Agreements shall be deemed
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20   terminated as of 12:01 a.m., on June 1, 2024 (“Termination Date”), and the Debtor may terminate
21
21   the eligibility of some or all of its employees under the Debtor’s employee healthcare benefits plan
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22   prior to such Termination Date by providing notice to Cigna.
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23          4.      Any party in interest may seek reconsideration of the relief being granted in this
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24   Order by filing with the Court and serving on the Debtor within fourteen days of service of this
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25   Order, a written request for reconsideration of such relief.
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11                 5.      The Debtor shall serve a copy of this order on all known contracting

22 counterparties affected by the Motion and this Order.

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          Date: May 24, 2024
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